Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 1 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 2 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 3 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 4 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 5 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 6 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 7 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 8 of 9
Case 1:21-cr-00193-BAH Document 77 Filed 07/08/22 Page 9 of 9
